               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:08 MJ 20-2


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
NICHOLAS HUERTA OCHOA,                        )
                                              )
                  Defendant.                  )
________________________________________      )


      THIS CAUSE coming on to be heard before the undersigned, pursuant to a

Motion to Continue (#14) filed by defendant’s attorney, Ronald C. True.             It

appearing to the court that good cause has been shown for the granting of a

continuance of the preliminary hearing and potential detention hearing in this matter.

                                      ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion to Continue (#14)

is hereby GRANTED and that good cause has been shown for a continuance of the

detention hearing for a period of time that may exceed five (5) days as provided by

18 U.S.C. § 3142(f).

                                          Signed: May 22, 2008




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